Case: 1:18-cv-01489 Document #: 17-5 Filed: 05/07/18 Page 1 of 4 PageID #:785




                      EXHIBIT 5
           Case: 1:18-cv-01489 Document #: 17-5 Filed: 05/07/18 Page 2 of 4 PageID #:785




From:                            Hassan Abbas <hassan.abbas@haa-law.com>
Sent:                            Monday, February 19, 2018 1:52 PM
To:                              Lee, Alvin; Bicks, Peter; Howard, Kyle S.
Subject:                         New complaint to be filed. Fwd: Activity in Case 1:12-cv-08089-RJS Midamines SPRL Ltd.
                                 et al v. KBC Bank NV et al Order


Me. Lee,

As you may be aware your motion has been denied and your improper request for a nationwide injunction
rejected by Hon. Judge Sullivan in the New York federal court as well as your collateral estoppel argument was
rejected by Hon. Tharp, Jr., of the Illinois federal court who stated there is no general filing injunction in Illinois
(except in Hon. Judge Tharp’s court) and the complaint is not frivolous as concluded by Hon. Judge Tharp, Jr.
Your motion for nationwide injunction is vexatious and frivolous. Your attempt to prevent Plaintiff from
seeking their rights to recover money from the crooked bank KBC is improper and unjustifiable. Your crooked
client KBC must return the money it has stolen from us. I have prepared the new complaint which will be
refilled in Illinois and we will continue filing as far and as wide as the law permits to obtain our money. I ask
again that KBC pay immediately our checks and interest for a total of $150,000 before I refile the case. Please
let me know if KBC will resolve matters amicably and avoid time consuming and expensive litigation. Thank
you for your cooperation.

Hassan A. Abbas
Attorney at Law

Sent from my iPhone

Begin forwarded message:

       From: <NYSD_ECF_Pool@nysd.uscourts.gov>
       Date: February 16, 2018 at 2:31:28 PM GMT+2
       To: <CourtMail@nysd.uscourts.gov>
       Subject: Activity in Case 1:12-cv-08089-RJS Midamines SPRL Ltd. et al v. KBC Bank NV
       et al Order

       This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
       RESPOND to this e-mail because the mail box is unattended.
       ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
       policy permits attorneys of record and parties in a case (including pro se litigants) to
       receive one free electronic copy of all documents filed electronically, if receipt is required
       by law or directed by the filer. PACER access fees apply to all other users. To avoid later
       charges, download a copy of each document during this first viewing. However, if the
       referenced document is a transcript, the free copy and 30 page limit do not apply.

                                                U.S. District Court

                                          Southern District of New York

       Notice of Electronic Filing
   Case: 1:18-cv-01489 Document #: 17-5 Filed: 05/07/18 Page 3 of 4 PageID #:785


The following transaction was entered on 2/16/2018 at 7:31 AM EST and filed on 2/15/2018
Case Name:       Midamines SPRL Ltd. et al v. KBC Bank NV et al
Case Number:     1:12-cv-08089-RJS
Filer:
WARNING: CASE CLOSED on 03/25/2014
Document Number: 128

Docket Text:
ORDER: Defendant now seeks to re-open this case, which was dismissed on
forum non conveniens grounds nearly four years ago (Doc. No. 55), in order to
dramatically expand the scope of this Court's filing injunction. Although the Court
sympathizes with Defendant's concern about vexatious litigation in other
jurisdictions, given that this Court has already dismissed Plaintiffs' Complaint,
and that Plaintiffs are not alleged to have violated this Court's injunction, the
Court does not believe that Defendant's contemplated motion would be properly
before it. Of course, if and when Plaintiffs follow through on their alleged threat to
file duplicative lawsuits in one or more other jurisdictions, Defendant may cite
this Court's filing injunction as evidence of Plaintiffs' vexatious litigation history
and seek appropriate relief, including a nationwide filing injunction, in those
cases. See, e.g., lipin v. Hunt, 14- cv-01081 (RJS), at *5-6 (S.D.N.Y. September 18,
2014) (granting nationwide filing injunction in connection with dispositive
motion). But given the procedural posture here, the Court finds no basis for re-
opening this case in order to bar Plaintiffs from accessing courts far and wide
beyond the scope of the Court's existing injunction. Accordingly, Defendant's
motion is deemed made and DENIED. SO ORDERED. (Signed by Judge Richard J.
Sullivan on 2/14/2018) (rj)


1:12-cv-08089-RJS Notice has been electronically mailed to:

Helen Gredd      hgredd@lswlaw.com, Rmarchitello@lswlaw.com

Peter A. Bicks    pbicks@orrick.com, nymao@orrick.com

Hassan Abbas      haa-law@hotmail.com, ha.law@hotmail.be, sptlaw@sbcglobal.net

Alvin Young Lee     alee@orrick.com, khoward@orrick.com

1:12-cv-08089-RJS Notice has been delivered by other means to:

Hassan A. Abbas
19 Don Carlos Drive
Hanover Park, IL 60133

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1008691343 [Date=2/16/2018] [FileNumber=19679132-
  Case: 1:18-cv-01489 Document #: 17-5 Filed: 05/07/18 Page 4 of 4 PageID #:785

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5d26c5be3e201c0d2363ac98d52afc5dbb65a472dabde4319aba0078246dd7]]
